

People v Clark (2025 NY Slip Op 00200)





People v Clark


2025 NY Slip Op 00200


Decided on January 14, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 14, 2025

Before: Kern, J.P., Kennedy, González, Shulman, Rodriguez, JJ. 


Ind. No. 566/19 Appeal No. 3495 Case No. 2021-03911 

[*1]The People of The State of New York, Respondent,
vTony Clark, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Megan Taeschler of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Andrew John Lozizdes of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Laurence E. Busching, J.), rendered October 20, 2021,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 14, 2025
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








